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                         IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                     PITTSBURGH

SHIRLEY A. HILSTER, DECEASED;                     )
CHARLES W. HILSTERJR.,                            )
INDIVIDUALLY; SHIRLEY A. CARPIN,                  )                   2:20-CV-01537-MJH
                                                  )
AS EXECUTOR OF THE ESTATE OF                      )
SHIRLEY A. HILSTER, DECEASED; AND                 )
SHIRLEY A. HILSTER,                               )
                                                  )
               Plaintiffs,                        )
        vs.

AIR & LIQUID SYSTEMS
CORPORATION, et al.,

               Defendants,

                                            ORDER

       Upon Consideration of Warren’s Motion for Summary Judgment (ECF Nos. 369), the

respective briefs of the parties (ECF Nos. 364, 376, and 388), the arguments of counsel, and for

the reasons stated in this Court’s Opinion (ECF No. 409), Warren’s Motion for Summary

Judgment is granted. Judgment will be entered in favor of Warren and against the Plaintiffs.

Warren’s Motion to Exclude Dr. Holstein and Dr. Staggs is dismissed as moot.

              DATED this 27th day of May, 2022.

                                            BY THE COURT:



                                            MARILYN J. HORAN
                                            United States District Judge
